         Case 1:21-cr-00040-TNM Document 531 Filed 02/21/23 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                 Case No. 1:21-cr-40
                                    )
QUAGLIN                             )
____________________________________)


 FIRST SUPPLEMENT TO DEFENDANT’S THIRD MOTION FOR RELEASE FROM
          PRETRIAL DETENTION AND REQUEST FOR A HEARING

       Defendant Christopher Quaglin, by and through counsel, hereby files this supplement to

his Third Motion for Release.

       Mr. Quaglin has disappeared again. He was last heard from by his wife on the morning

of February 18, 2023. He was not heard from since by either his family or his attorneys.

Whenever this happens, it means he has been transferred to another facility. Undersigned

counsel contacted the Government alerting them of the situation and inquired if there was any

information about Mr. Quaglin’s whereabouts. A Government attorney responded: “I haven’t

received any new information on his whereabouts. If he has been transferred - and I have no

reason to know whether her has or hasn’t - I wouldn’t be alerted for 24 hours after the transfer,

per safety protocol.” It is now three days since his disappearance and there is still no

information.

       Mr. Quaglin filed his Second Motion for Release (ECF No. 495) on November 27, 2022,

while in Northern Neck Regional Jail. On December 23, 2023, two days before Christmas, while

the Motion was still pending, Mr. Quaglin went missing, as he had numerous times in the past

while in the Government’s custody. It was subsequently learned that he was transferred to

Rappahannock Regional Jail. Mr. Quaglin’s attorneys filed a supplement to the Motion (ECF
         Case 1:21-cr-00040-TNM Document 531 Filed 02/21/23 Page 2 of 5




No. 501) requesting that he be released from Rappahannock Jail because Rappahannock, by its

own admission, cannot provide proper access to the voluminous discovery necessary to prepare

for a January 6 case, specifically, the Jail does not provide access to the voluminous discovery

databases relativity.com and evidence.com. Mr. Quaglin has never had access to those databases.

        By Minute Order dated December 27, 2022, the Court denied Mr. Quaglin’s Second

Motion for release “in light of the Defendant’s transfer to a new facility,” and granted the

Government 25 days to respond to Mr. Quaglin’s one page Supplement. On January 17, 2023,

the Government responded, but before Mr. Quaglin could submit a Reply, on February 1, 2023,

Mr. Quaglin was moved again to The DC Jail’s CDF facility. Anticipating that once again the

Court would deny his previous motion in light of yet another transfer, Mr. Quaglin filed his Third

Motion for Pretrial Release (ECF No. 519), arguing, inter alia, that he had already been housed

in the DC Jail and the Government, by its own admission, knows the CDF facility to be unfit for

holding pretrial detainees.

        By Minute Order dated February 10, 2023, the Court denied Mr. Quaglin’s Second

Motion for Release, and ordered the Government to respond to Defendant's Third Motion for

Release on or before February 24, 2023. Then, on February 18, Mr. Quaglin disappeared again,

and has not been heard from for three days, and the Government admits to not knowing his

whereabouts.

        This is a pattern that has been going on for almost 2 full years. Mr. Quaglin files a

motion seeking release setting forth facts showing the facility holding him, inter alia, makes it

impossible for him to prepare for trial, and then while the motion is pending he is transferred to

another facility.
          Case 1:21-cr-00040-TNM Document 531 Filed 02/21/23 Page 3 of 5




         In August of 2022, this Court issued an Order dismissing Attorney General Merrick

Garland from Mr. Quaglin’s petition for habeas corpus because the Court held that Attorney

General Garland was not Mr. Quaglin’s primary custodian. Qugalin v. Garland, et al.

1:22-cv-1154, ECF 25. Mr. Quaglin argued that Attorney General Garland was the primary

custodian because Mr. Quaglin is so frequently transferred that requiring Mr. Quaglin to petition

only the facility warden would deprive him of his constitutional right to petition for habeas

corpus as Mr. Quaglin could be transferred by AG Garland or his agents at any time, thereby

mooting any habeas petitions. This is exactly why “the unique context of [an] immigration

proceeding” requires suit against the Attorney General. Id. (citing Cau v. Lynch, No. CV

15-0761-FMO (DTB), 2016 WL 1358656, at *3 (C.D. Cal. Feb. 16, 2016)). Mr. Quaglin argued

that this special right to petition the United States Attorney General for habeas corpus should not

be reserved only for immigrants to this country, but should be available for United State’s

citizens as well. In support, Mr. Quaglin cited Demjanjuk v. Meese, 784 F.2d 1114 (D.C. Cir.

1986).

         The Court rejected Mr. Quaglin’s argument and dismissed the Attorney General.

         [Mr. Quaglin] points to habeas precedents that allow suit against the Attorney
         General when a detainee is “rapidly transferred” between facilities. Consol. Opp’n
         to MTDs at 7, ECF No. 22 (Opp’n). These precedents are inapt. Quaglin might
         have rotated around several facilities, but he has remained at NNRJ since
         December 2021. His case thus hardly resembles the precedents he cites. For
         example, Demjanjuk v. Meese dealt with a federal detainee whose exact location
         was confidential. See 784 F.2d 1114, 1115-16 (D.C. Cir. 1986). In that “limited
         and special circumstance[],” the Attorney General was the custodian and a proper
         defendant. Id. at 1116.
Quaglin v. Garland, 1:22-cv-1154, ECF No. 25, at 3-4.
         Mr. Quaglin’s location is currently unknown, and he has been transferred nine times - two

or three times in the last three months alone. This situation was predictable and brought to the
         Case 1:21-cr-00040-TNM Document 531 Filed 02/21/23 Page 4 of 5




attention of the Court in August of 2022, but the Court trusted the Government that Mr. Quaglin

would remain in NNRJ and would not be rapidly transferred.

       The fact remains, Mr. Quaglin has still not seen his discovery, which is his constitutional

right. He has never seen the voluminous discovery databases which is his right as well. It is not

sufficient that his attorneys have access. The Government suggests that it is enough that Mr.

Quaglin’s attorneys have access to the databases because “either of Quaglin’s attorneys can

access those databases and place all files necessary for trial preparation on hard drives for

Quaglin to review.”    ECF No. 511, at 3.       The Government knows full well that this is

impracticable. The Government’s own letters to counsel clearly state, “Please be advised that

sharing voluminous files can sometimes take several hours or days depending on the size of the

files being shared.” E.g., Letter regarding Capitol Breach Cases Global Discovery Production

No. 5, dated Oct. 23, 2021, from U.S. Department of Justice, Channing D. Phillips, Acting

United States Attorney, District of Columbia. The files so far shared with January 6 defendants

contain over 14,000 hours of video footage, and it was announced on February 20, 2023, that

there are now 30,000 additional hours that may become available. Mr. Quaglin cannot possibly

prepare for his trial without having direct access to the databases, which he has been denied for

almost 2 years.

       The Government has failed in its duty to detain Mr. Quaglin pretrial. Accordingly, the

Court should order that the Government locate Mr. Quaglin immediately, and order his

immediate release to the custody of his wife Moira Quaglin.
         Case 1:21-cr-00040-TNM Document 531 Filed 02/21/23 Page 5 of 5




                                        CONCLUSION

       For the foregoing reasons, and for all of the reasons cited in all previous motions and

filings requesting Mr. Quaglin’s release, Mr. Quaglin respectfully requests that he be released

from pretrial custody immediately to the custody of his wife Moira Quaglin.

Dated: February 21, 2023                                     Respectfully submitted,

                                                             /s/ Jonathan Gross
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                                CERTIFICATE OF SERVICE

  I hereby certify that a copy of the foregoing is being served on opposing counsel via email on

                                        February 21, 2023

                                        /s/ Jonathan Gross
